Case 1:04-cr-00010-MW-GRJ         Document 568       Filed 08/03/07    Page 1 of 1




                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
                           GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

      Plaintiff,

v.                                              CASE NO.: 1:04-CR-010-SPM

JOHNNY C. GEORGE,

     Defendant.
________________________________/

                   ORDER CONTINUING REVOCATION HEARING

      THIS CAUSE comes before the Court upon “Defendant’s Motion to

Continue Revocation Hearing” (doc. 567). As grounds, defense counsel states

the need for more time for the state proceedings that have given rise to the

current violation to progress to a point where there is a first appearance and

appointment of counsel for Defendant. Finding good cause for the

postponement, it is

      ORDERED AND ADJUDGED as follows:

      1.      The Motion to Continue (doc. 567) is granted.

      2.      The revocation hearing shall be rescheduled for Monday, October

              1, 2007 at 1:30 p.m.

      DONE AND ORDERED this third day of August, 2007.




                                     s/ Stephan P. Mickle
                                  Stephan P. Mickle
                                  United States District Judge
